          Case 1:20-mc-00336-DCN Document 2 Filed 12/04/20 Page 1 of 2




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Attorneys for Movants Shawn Cutting and
Crypto Traders Management, LLC

                          IN THE UNITED STATE DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 CRYPTO TRADERS MANAGEMENT,
 LLC, a dissolved Idaho limited liability
 company; and SHAWN CUTTING, an                         Case No.
 individual,

              Movant,                                   DECLARATION OF SHAWN
                                                        CUTTING
 vs.

 UNITED STATE SECURITIES AND
 EXCHANGE COMMISSION,

               Respondent.


       I, Shawn Cutting, I declare under penalty of perjury pursuant to the law of the State of

Idaho that the facts set forth herein are true and correct.

       1. I am customer of Wells Fargo Bank. I bank at the branch of Wells Fargo Bank

           located in Rathdrum, Idaho. My bank records are being requested by the United

           States Securities and Exchange Commission (“SEC”) through a subpoena, Exhibit A

           to the motion filed with this declaration.
          Case 1:20-mc-00336-DCN Document 2 Filed 12/04/20 Page 2 of 2




       2. Crypto Traders Management, LLC had an account with Wells Fargo Bank for a

           period of a few months in 2018; the account had little use and has been closed for

           nearly three years.

       3. The financial records sought by the SEC are not relevant to the legitimate law

           enforcement inquiry stated in the Customer Notice that was sent to me because

           although the account was in the name of Crypto Traders Management, LLC

           (“CTM”), which is the subject of the SEC investigation, the few transactions that did

           pass through the account contain, personally identifiable information, in addition to

           confidential account information belonging to clients of CTM.

       DATED this 4th day of December


                                                 /s/ Shawn Cutting
                                             By: Shawn Cutting


                                 CERTIFICATE OF SERVICE

        I declare under penalty of perjury that I have mailed or delivered a copy of the attached to
the below listed individuals by the method indicated below:

        Mary S. Brady                                  [ ] Hand Delivered
        Assistant Regional Director                    [ X ] U.S. Mail, Postage Paid
        Denver Regional Office                         [ ] Fax
        Securities and Exchange Commission             [ ] Email
        1961 Stout Street, Suite 1700                  [ ] iCourt Filing
        Denver, CO 80294-1961

        Richard M. Humes, Esq.                         [ ] Hand Delivered
        Associate General Counsel                      [ X ] U.S. Mail, Postage Paid
        Securities and Exchange Commission             [ ] Fax
        100 F St., N.E.                                [ ] Email
        Washington D.C 20549                           [ ] iCourt Filing


                                                         /s/ Michelle Points
                                                     Michelle R. Points
